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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
vs.                                         )   CRIMINAL NO. 17-00028-CG
                                            )
CLEVELAND TAIWAN THOMAS,                    )
                                            )
      Defendant.                            )

                                          ORDER

      This matter came on for a bond revocation hearing on May 31, 2017, during

which the defendant advised that he did not contest the Petition for Action on

Conditions of Release (Doc. 35), but that he would seek treatment for substance

abuse if allowed to remain on condition of release. The Government advised the

Court that its position was that Defendant’s conditions of release be revoked since

he failed to abide by those conditions.

      Upon due consideration of the petition, the arguments of counsel, the Court

finds that there is clear and convincing evidence that the Defendant has violated his

conditions of release, and that the Defendant is unlikely to abide by any condition

or combination of conditions of release. Therefore, the Order Setting Conditions of

Release (Doc. 12) is VACATED, Defendant conditions of release are REVOKED

and pursuant to the provisions of 18 U.S.C. § 3143, the Defendant is REMANDED

to the custody of the United States Marshal pending his sentencing hearing.
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      The United States Marshal is ORDERED to produce the Defendant for the

sentencing hearing scheduled for July 17, 2017 at 9:30 a.m., to be held in Courtroom

2B, United States Courthouse, Mobile, Alabama.

      DONE and ORDERED this 31st day of May, 2017.


                         /s/ Callie V. S. Granade
                         SENIOR UNITED STATES DISTRICT JUDGE




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